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                                                           July 29, 2019
BY ECF & Hand

The Honorable Jed S. Rakoff
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

      Re:    United States v. Cesar Altieri Sayoc
             18 Cr. 820 (JSR)

Dear Judge Rakoff:

       The defense submits this supplemental letter in advance of Mr. Sayoc’s
sentencing, scheduled for August 5, 2019. First, attached please find an additional
letter of support from Angela DiMaio, a family friend of Mr. Sayoc’s, received after
our initial submission (attached as Exhibit II).

        Second, we write to clarify a point raised by the Government in its sentencing
letter. Contrary to the Government’s view, none of the counts to which Mr. Sayoc pled
guilty requires the use or possession of an actual “destructive device.” Nor do his
counts of conviction require a “bomb [] capable of exploding and intended to be used
as a weapon,” as the government erroneously states. See Gov’t Sent’g Mem. (“Gov’t
Mem.”), ECF No. 39 at 2, 35–36. Mr. Sayoc’s only statute of conviction that mentions
“destructive device” is 18 U.S.C. § 2332a (counts 1–16). See 18 U.S.C. § 2332a(c)
(defining “weapon of mass destruction” to include “any destructive device as defined
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in section 921”). 1 But Section 2332a is violated whenever a defendant uses or
“threatens” to use such a device, and using a hoax device is precisely the sort of threat
that satisfies this statute.

        For example, in United States v. Davila, the Second Circuit held that the
defendant had violated 18 U.S.C. § 2332a by sending a hoax anthrax letter. See 461
F.3d 298, 302 (2d Cir. 2006). Defendant Davila, while incarcerated in state prison,
sent an envelope of baby powder with the note “ANTRAX” to a state prosecutor’s
office. See 461 F.3d at 300. He was convicted following trial and appealed, arguing
that his letter did not meet the elements of Section 2332a and did not constitute a
true threat. Id. at 301. The Second Circuit rejected his argument and upheld the
conviction. Id. at 302–03; see also United States v. Evans, 478 F.3d 1332, 1338–39
(11th Cir. 2007) (upholding conviction under Section 2332a for the threatened use of
a weapon of mass destruction even though the defendant sent only harmless powder
designed to look like anthrax); United States v. Guevara, 408 F.3d 252, 256–57 (5th
Cir. 2005) (same); United States v. Waagner, No. 14-550, 2014 WL 2710953, at *4
(E.D. Pa. June 16, 2014) (same); cf. United States v. Shrader, No. CR-14-455, 2014
WL 4954408, at *1–2 (D. Ariz. Oct. 1, 2014) (upholding conviction under
Section 844(e), involving threat “by means of fire or an explosive,” where defendant
sent “bomb-type” device that was not constructed to explode). Similarly, in United
States v. Lit, the district court rejected a defendant’s challenge to his Section 2332a
conviction for placing a fake bomb in the Philadelphia airport. See No. 07-903, 2007
WL 1725199, at *11 (E.D. Pa. June 12, 2007). Citing Davila, the district court
explained that a bomb hoax qualified as threatening to use a weapon of mass
destruction under Section 2332a. See id.

       Following the reasoning of Davila and these additional cases, Mr. Sayoc is
guilty of violating 18 U.S.C. § 2332a for sending something that looks like a bomb,
regardless of whether that device could function as a bomb and regardless of whether
it meets the federal legal definition of a “destructive device.” As a result, nothing in



1  Mr. Sayoc’s other statutes of conviction reference threats or the use or
transportation of explosives, defined to include “smokeless powders, . . .and any
chemical compounds, mechanical mixture, or device that contains any oxidizing and
combustible units” See 18 U.S.C. § 844(d) (prohibiting transporting “any explosive
with the knowledge or intent that it will be used to . . . intimidate any individual”);
18 U.S.C. § 844(h) (prohibiting using an explosive to commit a felony); 18 U.S.C.
§ 1716(j)(2) (prohibiting mailing explosives); 18 U.S.C. § 844(j) (defining explosive);
18 U.S.C. § 875(c) (prohibiting interstate threats).
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 Mr. Sayoc’s sentencing submission calls into question the elements of the offenses to
 which he pled guilty.

       For the reasons described in Mr. Sayoc’s initial submission, the Court should
 sentence him to a total of 121 months’ imprisonment.

                                              Respectfully submitted,

                                               /s/ Sarah Baumgartel
                                              Sarah Baumgartel
                                              Amy Gallicchio
                                              Ian Marcus Amelkin
                                              Assistant Federal Defenders
                                              52 Duane Street, 10th Floor
                                              New York, NY 10007
                                              (212) 417-8772

cc:   Emil Bove, Jane Kim, Samuel Adelsberg, and Jason Richman, Esqs.
      United States Attorney’s Office, SDNY
